        Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 1 of 34 Page ID #:59

                                                                                                                                                  FILED
                         QS                  a*c                                                                                       CLERK, U.S. DISTRICT COURT
    FULL NAME


    CON INI HIT- D   N.\ME( 0f d,IIere,ii)
                                                                                                                                               JUN        6 2016
       )aSCo
    FULL ADDRESS
                                tctt2. PrSciv
                         INCLUDING NAME OF INSTI IUI’ION
                                                                                                                                  CENTRAL DISTRICT OF CALIFORNIA                 I
                                                                                                                                  BY                      DEPUTYL
          oJo                       4’-/OO )SCc eq ?323O                    .




    PRISON NUMBER         ii




                                                                   UNITED STATES DISTRICT COURT
                                                                  CENTRAL DISTRICT OF CALIFORNIA
        Steko              Ct                    tr                                                 CASE NUMBER AeCL CQL
                                    V.                                                                            ,        j   t6-ILS
   Q   cc5                                             P-                                                                             To be supplied by the Clerk
             ete                            rt1                          PLAINTIFF,
                                                           ,c.vcic4, Gc skt-s
                                                       V
    Vko                              e,                                VS
                                1AtD
                                                                  Oeieo                                               CIVIL RIGHTS COMPLAINT
          octceo4 1                          Qsove-
                                                              c                 Y’                                      PURSUANT TO (Check one)
              &c&F              i-kRo
    r-V wp                                                                 DEFENDANT(S).
                                                                                                     "42 U.S.C.        §   1983
                 tWec4K                                                                             U Bivens v. Six Unknown Agents 403 U.S. 388 (1971)

 A. PREVIOUS LAWSUITS

       I. Have you brought any other lawsuits in a federal court while a                                     prisoner:                    U No
       2. If your answer to "I                    ."   is yes, how many?               Ofr’ .

             Describe the lawsuit in the space below. (If there is more than one lawsuit, describe the additional lawsuits on an
             attached piece of paper using the same outline.)                                                          .



             o       - ’tots        C\..ct o                                   c+                   av        c\t
                             4wo                           OV\             4t&                                         c c&
                   . v’vc                     ivC          ~vp                                                 #o
                    cQ’ dcc.- g                                      v’1a         1    Li4               rc                      tq
                                                 Cv               -           4e1 c             oo                  cC
               %(VC1Q,U.&                                                        O                       r                        G.                VtL1WV.            ’5
                                                                                            C)                                                                      PPS               C)
                                                                      kx    LAJy                rs                                              vtL                         *cL4(Jg
                                                                                                     +       4
                                                                                                                               c4ej
                                                       vc             tiu                                                      Ck-o
                               L-11 cTQ                                              SvtU                                                           VU     c4cLVL

                                                       cL                   1                                                                  C)4Q                          LOl4L
                     C                                            crve50,
                                    Co
                                                                                                                                                                            0L1
                                        e    +                                                  o       o                          CU 2                     y          e
                                                                            ’J(       oA            rc’,fOEc                               I   4d(
                                                                  1LtL                          c                                  ?-’c         k-’          CO4H)ic                 I (,
                               d.     t-U Q                   . V\     VL                       L            QV                                C-               0 U)
                     kj c;C         c


                                                                                CIVIL iuc;iri’s COMPLAINT
CV-66 (7/97)
                                                                                                                                                                           ’age I olE
        Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 2 of 34 Page ID #:60

               a. Parties to this previous lawsuit:
                  Plaintiff     tVi        c     Pri.d

                  Defendants                                        et                                                                               R;
                     ks                                                    &it4rc.t
                                     F-,            tc’
           b. Court u.                *it                                  - e5--t4        LS+t*-                c-QtO



           c. Docket or case number \.                     -                   L.     0-    S A6
           d. Name ofjudge to whom case was assigned                                              0                    S                   A.
           e. Disposition (For example: Was the case dismissed? If so, what was the basis for dismissal? Was it
                  appealed? Is it still pending?)                                            _________________________________________
           f.     Issues raised:                                       p                     M                               L Pra+o
                  Ci0LdS0 1            L)




           g. Approximate date of filing lawsuit:
           Ii. Approximate date of disposition -


 B. EXHAUSTION OF ADMINISTRATIVE REMEDIES

        Is there a grieance procedure available at the institution where the events relating to your current complaint
           occurred? YYes 0 No

     2. Have you flied a grievance concerning the facts relating to your current complaint?                                       U No

          If your answer is no, explain why not




     3. Is the grievance procedure completed? U Yes 8 1N o

          If your answer is no, explain why not                    &                                                                   )
                          C(XJv\1/              t 4t)                  - 4                            PA


     4. Please attach copies of papers related to the grievance procedure.

C. JURISDICTION

     This complaint alleges that the civil rights of plaintiff                                                                    Ir
                                                                                                      (print p1 ai nti Vs name)
     who presently resides at                                           Sos           riofo
                                                                     nailing address or place of con tinenient
                                                                                                               ’LtOD                            C1

     were violated by the actions of the defendant(s) named below, which actions were directed against plaintiff at
                 c                                                t–           4       t     c
                                                    nt to Lt on/c ty where viol at on occurred)            #
                                                                                                                       (



                                                        (’lvii. RiGITS C0iPLAiNT
CV-b6 (7/97)                                                                                                                                         Page 2 016
        Case 8:16-cv-00318-PLA IS-
                                Document
                                     \i
                                         11 Filed 06/06/16 Page 3 of 34 Page ID #:61
                                        U-25-N
                                                     -
                                                .. 4-                                         .           i
                                                                                                         -1       5
                          2,q-4-f(
                                                                             .    -
                                                                                       -                 -   is- s                  S              -

                                               j. q-’                     i’1- ’55        12’L,          -7-
                                                                                                         --       S
                                                  tt2l’1
                                                                           q
                                                                                           25
                                                                                      B-S tZC’                                                 -   7--    s
                                                3                         )2.           ’I2 7 .
                                                                                                     ’   -- Is
                                                                                                                       34
                                                                                                                            LA -
                                                                                                                                               i_ -
                                                                                                                                               -    F -
                                                                                                                                             t._tiS
       on(dateordates)7’                           il -tt                   \.
                                             (Claim !)+  I1                                (Claims) (S        o   Z9               (CIairn             1c 4-2.
                                                                                                                                              2

       NOTE:             You need not name more than one defendant or allege more than one claim. If YOU are naming more than
                         five (5) defendants, make a copy of this page to provide the information for additional defendants.

       1. Defendant           ’c-c.e_’r’y                                   e.              rowr                                         resides or works at
                c           (full name of first defendant)

                                                     Q4
                3,          ( full address of first defundant
                                     POLL c              O
                            (defendant’s position and title, if any)



           The defendant is sued in his/her (Check one or both):                                  dividual/Official capacity.

           Explain how this defendant was acting under color of law:
                                                                            ka4


                           $cndy Diq
           Defendant                 ’Mi. -F        4cd,0- f         1
                                                                      .          rdv                     JO4L,                           resides or works at
                            (full name 01 first defendant)

                                                    u4                      ecA
                            (full addresoi first defendant)


                            (defendants position and title, if any)
               0.


           The defendant is sued in his/her (Check one or both): RrindividUal                                     9 official capacity.

           Explain how this defendant was acting under color of law:
                                       11ifrtj                  -i1Q,


           Defendant        orov.                        ptgkv Dete.b, pnv,
                                                                ,
                                                                                                                                         resides or works at
           c c-            (lull name 01 first defendant)


               ft                         0,    e Cou\+/ ccA
                           (full address of trst defendant)
               H5 .
                     ’     (defendants position and title, if an)



          The 4fendant is sued in his/her (Check one or both):                                    dividual              cial capacity.

          Explain how this defendant was acting under color of law:




                                                                    CIVIL, RIGHTS COMPLAINT
CV-66 (7197)
                                                                                                                                                              Page 3 of 6
          Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 4 of 34 Page ID #:62


      4.   Defendant      Gro’rr- ,Iotp%o                                                   - toc            ’Act.Qzresides or works at
                         (lull name ol tirst defendani)

               33..Lo,                       . Cou *’/
                31 t//. (liii address ollirsi defin(lanl)
                35

                  7,     (de t’endant’s position and title. it any)

                 3C
           The defendant is sued in his/her (Check one or both): B’ndividual                    Yofficial capacity.

           Explain how this defendant was acting under color of law:

                                                              tL             c+ e.

                  c0s4U,                                                             Joro
     5.    Defendant Gk*, 4C                                                    L1                  N eAV,   Rvvi       resides or works at
                         (Rdl name ’ol lirst de lndant)
               42.
                                                  ct1
                          liii address oflirsi delndani)

                                                                  e!d Otte
                        (defendants position and title, il any)


           The defendant is sued in his/her (Check one or both): EriiidividLial                        cial capacity.

           Explain how this defendant was acting under color of law:
                                                          e                  ate




                                                               ClIl. IUGIIIS (:OMl’LINT
CV-66 (7.97)                                                                                                                            j)    4 01 6
      Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 5 of 34 Page ID #:63

                                                                                               nq    SaCz.
         Defendantve         Vco G                          ,                                       n\\/   isides or works at
                 (Ithi name of tirs defendant)                       /
                        Orc Cnu n                                £
              20.    (tidi addresof first de(indani)
                               b           e,                                                  v’
               z.    (deindani’s position and title. ilan)                                      -     -
               2.
         The defendant is sited in his/her (Check one or both): 191ridividual              official capacity

         Explain how this defendant was acting under colorOT1av:
                                \i               )      jtH

                     CoitIo, Vqs-,                              FL*/,        oc\Ld j
         Defendant                                   G0t4 1                                                    resides or works at
                     (full   name   of   first defindant)
              27.
                       Orcf (cu
              28,    (lull addressf flrs delindani)
              29’.

               3     (dndwit’s position and title, if any)                                     --          -




               32.
         The defendant is sited in his/her (Check one or both):               ’cdividual     ficial capacity

         Explain how this defendant was acting under color of law:
                         ,     L                            1        r




                                                                CIVIL RIGIIFS COMI’LINT
CV-66 (797)                                                                                                                      ge 4016
          Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 6 of 34 Page ID #:64

 D.
                                                                           CLAIM I
       The following civil right has been violated:
                                                                                        Ec




      Supporting Facts: Include all facts              yoLl   consider important. State the facts clearly, in your own words, and without
      citing legal authority or argument. Be certain you describe, in separately numbered paragraphs, exactly what each
      DEFENDANT (by name) did to violate your right.
                                      \c
                                                                p




       J/ 1/ie/’e is   17101 - e 1/lull QOC   claim, describe the addilional c/a/ni(s) on another attached piece of pope!’ using the same
      outline.


                                                                  (:I\IL RIGHTS COII’LIN’I’
CV-66 (7197)                                                                                                                         PageS of’ 6
        Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 7 of 34 Page ID #:65

 E. REQUEST FOR RELIEF

      I believe that I am entitled to   the following specific relief:


        Coo              av\      ak)vA                                   ~.tylrl-
                                                                                                       1
                c.            j                  Oc c
                                ,4                0 00, 00

                               3?                  00-’J, 00
                                             \CO,o


           C,atIMc                15.


          01,r4 Co A-1 D evk-Sa
                              --1-0"v’                  q MA&        Pt                                          vj




                     (Date)                                                          (Signature   o/Plainue/j)




                                                        CIVIL. RICHES (OlPLINF
CV- 0 6 (797)                                                                                                    Page 6 016
         Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 8 of 34 Page ID #:66




                                              c:            L
             V\
                                         Lj                          \3   Cos             /VLc
4
            otc       c-       7     3
D                                             c   SL            ce                   LQ
6
            4                  vvt                              - o        iko
7
          P OtL,                                            Ld4

8                      V
9                 c                                                       kcQ
                                                                          L\.        L.
10

11                                   +                          LOV&
12
I -,
                                                                                L’) *
14
                                     v4           4-L                               LecyL,
IS
                                                        /
    16
                   v’r         J4Lp
    17

    18       e.v
    ’9
                                                                          v’.
20
           kci             0                            C
                  -L4          VL        LO+d1J                                 A4
    21



    23

    24

    25

    26

    27

    28
              Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 9 of 34 Page ID #:67



                                                                 U   PP…3               -1*
2
n                                                      -
j
                            L- L\                                                         -                      4
4
                                                   co
5                               Q                                      .           YtO        4’\

                                                                                                    Li
6                                            o                  ’L                                               cye4
                            &
                                4   tk         i                                                    4
8


               -&)e    crL)cQ                              c           s   c       4ev’        ( )           V    C)k

                                                                       jA -
                      rav                                  LeQ

    13

    14                                       ’-




     -                     r, V,,~\     CVVV


    16                              t’v            .           OfruQ                                                    O1

    17                                                                     AJav’    )                            1cL

    18
                                                                                          \fO*               c&
                      ev                 S             L i                                                                   4
                                                                                     C.                  4               .

                Occ
    20
                                         4
     21                                  4)v’
                                    S        L)&


     23

     24

     25

         26

         27

         28
         Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 10 of 34 Page ID #:68



                                                                  CL
                                                             wc                                                -nor                   CO   v- i~OTOA        \V
 3
                                                    Q                       -
                                                                                       C                                                       c
 4
            0             -
                                                    V
                                                        rQ   -t L) Y   V\
                                                                                 _           A        A         vV
 D
                                                                                                                                  -        j)
            -k-c          ec            iiL–L                                                                  j)                         ,ykt5
            o                                                9 cxj
 6
                                                                                                           V   e                                   S
 7                                                                                                                                         o n , k bev
           k                            y                                                                 ’


 8                            L(.
           7_      7                                                                              L
9                4i
                                                                                                                                      o v
     0
                                    \       \   le- dQi\
 II
           k                    v\d                                                                   \)
     2     S+                     (                     cL                                                                                                        &\r
                                            40                              t t v                         +k- CZ                          cL                 P
                                                                       -




     3
                                                         vv        .
14                                                                     –L                  ec 1                vk
           CR-Qa. C:t                                                                                                                                   ct
 5
                                                                           4y              vOyOU
 6                                                                                                                                    4dQ -ex ce
                                                                                                      C             .        +040                      Lc
 7         VVV                                                                                   –L
                 ’(       or            L       5                      vk-             c,                                                                        tk     -



IS                                                                                                                      1    e             k
                                                                                                                    (         t                I
 9
20

2!
                oLe                     \                                                                      ol           4’a ,
                                                                                      v-              4-o                                                        ces
23               c+
21                                                                               Wt

25
                   1- t                                                                 LLJ0                                                   4        t
                                                                                                                                                             Q
                      dc                viQ*                 04 ku                    \4Jay1                                          V

26
                                                                                                                                               1   kic
                                        ck        -C4                                             (1 crfev
27                                       -ko LA V L, r                                                                                             (c
                                4-                                          10        fr
                                                                                                                                           vft
28
      Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 11 of 34 Page ID #:69
          5-Z\-IS
                                                             o;                                    JT
                     3QM-,X,.       ~su ’j Th                         iry
                ’’
                                                                                     Ccvv


                                                                             N
                                92y!
 3                                        \i3kt-   c,
                      a.         ppyo    L    v\yi’y
 4                    3
                      LI,                     ckLvy
                                                                                       Tue       de c
 D                     5,   copc lo , (       V yJ y
 6

 7

 8
                                                                                           ce) tricc         c\er
9
                                                                               COU    J_ r.crt
                                                                                                 vJ-E1   c
 10                                                                                   deccL

 II                                          7-7t’4
            L
                                     -                                                  SpL 4BOi1*
 12

 13                                                                           CO* S      COra
14




                                                                                   /
IS

16

17

18

19
                                N            t-vy                      vc

20                                           -’         Gy        -



                                              "\-
21



23                              COut              COc
                                                        \/
24

25                                                      ’Jtc:1        ctc4   AO–

26

27

28
         Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 12 of 34 Page ID #:70


                                         u         (ytv\c1           c–



           On 7-7

4
                        vvy                                   Toek
               L 00
                                          Q\j)      Q                 0
6
                                             po         ec   ck..
7                       e4 4                                               a
8              U                     e                           y        pe i
9          0
                                              CL
10
                                                   W5    vi 0,             /t/tV rop,Qv
II                                   LQ
12                 o5 1O
                          ’
13
                                                    pLc              tc4 vov4,
                   ,1

14                                                                    5
               r
.15

    16

    17

    18

    19

    20

    21
    Y)



    23

    24

    25

    26

    27

    28
           Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 13 of 34 Page ID #:71




4

D           yi7cJ                                 -+e 41–"                                                                              -ri-             Ofc
6
                            ceA
                           cc                           e
                  ce\2.1cxv\c\                                                         YtiQ
7
                                                                                                    Ir
8

9

10

II

    12           3uy                                                                                 fV&ue
                                       G\                                                                                        C-
    I-)     kcc             c&y’                  cz                ’             ve                     t-le Co.
                                                                                                               .41
                                                                                                                                    -’
                                                                             4          -#c
    14
                                 I3"                                                                                         LOLUQ                       tj
    15
             Stoi                            *\t Cp)V’ecCL                               c*                      a,                                  t)o:4

    16                                            wy
    17
                                                            y,                    cd                           4c*                             4          c V44
             LI    J                              Ove

             L          ffrn d
    18
                                             4Lt                         .             S.Gt(cO               6t.Qfr\icj *(
     ’9       VAy                                                                  (                                 cctvic                ct
    20       -   elC
                   S or            Kq             4u                         r                  .             4 4o 4kc                             Sc’
                                        r-    ( Lt )
                                                                                 ~A. e t            t Ve                 L. v vt.   ’
                                                                                                                                           4
    21                       Vo4                  /L’t

                                                        &                                  i   vyi       .                              cc Q % ,




                 qkv jL
     23                                      \[
              V     V

     24                                                                 CCA\vv\            /
                  or\                                                    ’cc                             c&r                        O-cIt           ke&tc
     25                                           c-e       S   e        y                                1\.                ’
                                                                         di                              -’              t
     26                                                                                                  .-1         &              i




      27
                                                                         r
                                                                             A   -F e~t+

      28
              Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 14 of 34 Page ID #:72




                o


4
                                        pacv .                   -t
D                                p 4 Ut                                                                  4Lv
                                   ;’
6
                             L           LJ+L           A-CL a, t    40
7                                                                 - U S                                       S        LQci
                             rvc                      4  +L
8
               ¶-L’LcQ1                  QU(vS                                   CA   ~   n
9

    10

    II                                                      CJcwr            !
    12                                                      –e                                         4- t            or\
    L)
                             j                                          v-t5h                                                *
                         +
    14                                        c

    IS         +(,\e                                      e e-   0
                                                                      p4- -cvo t-L
    16
                                        ia   +\c            puk             1cicQ                      ’OL             LJ cr
               yv\Q1                          CV4C (        t                   VJ
    17                                                                                    &yCd*-
                                                                                              ’   s
     18                  Lcd3                             MCc

     19                          k;-Le                                                                        ’Qr’ Y’t#O
               LI\L

     20
                                  ’-         +-L
     21         dJ                VL4C         VfrO       rciQ                                    Ct   (act




                 )   t                                C     AO
     23                                            Cc5ctu(
                                        ’Go
     24                                                                                                                rr
                                  -U                         C w                                  Cc              Sa   U4 J
         25
                                                                                                                             o
         26                                                                 0 L
                 M-L’                          2                  ’     -    (


         27

         28
          Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 15 of 34 Page ID #:73


                                                             c
                                                        cvy
3                               u                                                                 -   2              cQpcYy
                                                        54c                   o    Cc                 I’’                      Cut
4
           -cvc           CcS         s-Q               v’te              c c4c& t?u 4
)                               ICCJ                     e        oCec&                       O

6                                                                                                           14
                                 -cQLI
7          ke                                k
8
                           cv                                                                                          L+
9               v
                                      Le41         irL4
                                                                                                                       ct
10                              ’’(                                               4L cLL c4                                    c

II                                       V1ecO1                                           j
12                                                                                       S             4                           C   t
    13

    14

    Ii                                                   C\cwt
     6                                                                                                      Cr
                                                                                                  Ov1                          L
    17
                                                                 ( kv                             Cp             1
    18      Vc w.                        \)E?t/                          ’J            Liv4
                                                                              4                             *
    19
                           *\ ckLcL      L
    20                                                       c)Q.             O         JLdL                     0. VIOOILJCL~l
    21                                           L14 ,O             ’k                  -c4
                                             ov
                                                                                  v-
    23                                 F            (                                     ck
                                                                  frl)
    24
                                                                                                       vciL1di             c
    25            vvvexo~-d o-4       CC4L
    26

     27     IQ                                                                    y                                  vc’

                    t..    pi
     28
 Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 16 of 34 Page ID #:74




                                                                                                                                               sz
      1 j)w                                                         ;     rod                       \i                          op             L
"i*                       I,                           ’   r3\’1   (:)
                                                                                                                                               9

                                       25          flX                   ’-i’         147     A’,Oi’                                           c

 +0                                                         ci                                                  CP
                               ’             ,   cii,                                 biv              14-1         74-i 4 1

       1()1


                                                                                                   -’*        ’)io

      \ A14
                                                                                                              ’--r                             oE

                                                                                                                                                   61

                                                                                                                                                   81
      ’V      S’V\                 A
                                                                              oZ-c
                                                                         O                                                                         L
                                                                                                               H)              1) ’
                                                                                                                                                   9’
  ’ii;
                         c1Q’14j’+.
                !        ryv( Ar 1VP                              441O                                        (iA(                                 ci
                                                                                                                                      -   j-
                               lVA                          c_\        11b1Q.            Q                                                         ti
                                                                                                                                                   C
  all
              1tA




                                                                                                                                                    II

                                                                   /oo          ---                                                                01
                                   ce--11                                                                                                               (1
                                                                                      rAt’
                                       11         fl-         WY’
                                                                         ’4                    ?’--
               \,
                                                                                                                    Tv 0                                8
      VWS c09                               r?                                                                                        .*                L

                                                                                                                                                        9
                     Q
                                                                                                                                                         C
                                                                  Q-             Q-- pQ)
               -1-0)
                                                 -\-                                                                           Th9
                         d              e)                         i          coc                                     +’i
                                                                                                                                      c-


      ’1                     ,sciwwc                                                                   Aw                             O-                 C



                         0+                                                                  1*-
         Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 17 of 34 Page ID #:75


                                                                                           Q\Lfc
                                                        .Cc&trr               rL
                  ’rS4 J                CA                  e!f(c\  A\c                                              c,         \
          V\Ay     L& \)           c4   ’()                      ted \                                     -L-
                        -
                  Ly1 &4e                                  WL,                                                                      *
4                                            v-t                                       ----4.        vt"
                                                                                                                 -

          Lty      kocr                      j4                                  td.       Lc, O     ~                     Scr4-d,’
)
          vy                            4*
6
                c4c                                         .\\2tk                         vcvd
7
                                                                                   kvA.         "A
8                 (POja                                                     ot
                                                                        L                                        v/       c’p1 cic
                                                                              \O 5                              &
9
                                                                                                                 sstss
10        v(     1tc(                                                                  /

II

12

13                                                  o      vvtccLk c-                                                     vvt   LL’
14
                                                   _4                                                       o4
    IS                        ’C
                    Vky
    16     vot                                      1S l                                o4                  -             OL
    17                      b+L                                                                                                         "1
                             o     4L                                                               -"a             ht
    18     pQ     -’’       vvtp y 1-C9      -10    L5           L P’t-It S                     .
    19                                                       I

    20

    21



    23

    24

    25

    26

    27

    28
          Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 18 of 34 Page ID #:76




3                                                 C~ a ~, v   I-


4
           cOv\                                     y   cto y      o        4’

6
                                                         c2ycQ     4oq          vv y .          s

7
                i -kea tL* pci(s
8
                                         -
                                                                       CL   C
9
                                                                       4    ’’                  w/
10                                           Qdt\ 4Lt(                      ve                       ri
II              Q    \v                       cu4 u4koc*                 wt. et

12              kpc              k                            tcQ
    13
                    J7k    4                                           C&
                                  \P:          O
    ’4

    ’3
    16
                          ’ -    IS.
    ’7
            COV\                             cL)I"                     \ - $ - 5, 24-S                15
    18
            I                                C)
    ’9      t44                  rcord                  *                         v\    cp&v
    20
                                                                   iL    vkte/         CLJti- + ICLt3 j
                c-CJ            -L-LQ              evcQ c-                             Ccj r–   $+
    21

    ’Y)
                                             4L
    23                               /
    24                                                                          wt

    25
                      cv- *                                         o4
     26
                                                                            c            kt
                                c-
     27

     28
      Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 19 of 34 Page ID #:77

                                                       SpottvcS
                                                         cL                 i
            ona-St5,

4            o                     cQ                                      Cc
                                                                          A1+                 cs
D
        I                                          CLI   4t.%                       tCC-LC L
6
                        0        tci
7
                    v o     -          CLYa. C\
8
            cc      S     0 P1

                                                  +o
                                                                 "                                       cei
10

’I

12          ov              l8tS              Ce                                E        %eQ                      dpk               i
13      + Seci

14
                                  (g     P9e                                -        C                        CIA- N
                          I’k                                \        -   c$ecQ \-Cc,              \Ad                         Oy
Is
                                                   rc             *                      CJ   CcL4y
16                                 ’ PLc               I+                                          o                                    L
                                                             o.
17                      o 5’(-cd             Py&t-i                        -gcO 4o                                         L)oQ
Is
            5V\           1-           Y’o                                                         O1    2                          j 4
19                                                –o                                L+ …e
20

21                                                          cc            v. %D

                    J*y’JCtC\             4
23                                                                                                                 p
        CO                                                                      C    - - Cv    :         (:   C)       )   c         c, 4

2-4                                                                  iQ             1k

            ro                   ovce,                               cLeL’
25
                                                                                                          O
26
                  fr\ Q           L ojt’                                                                      L




27
                                             te
28                                                                         rotE                                   Ji
                                                                                                                  ---
     Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 20 of 34 Page ID #:78




                cr
jA                                        Lroe          -                                                                          Avj       L
                                                                                                                  1
                                               4 4"1                                    11                                                   9
                                                                                                       5          A
                                                                                                                                             c

                Lcbi
                                   (14   ’1r                       c,               A                                      It1       ’14     tz
                                               1+                                                           1r-o                   *ro
                             Jr          1’*            5&A
                                                                                                                               O
      ri    hl1oS
                                                                                    i+            ’o                  i1V,A
                                                                                                           4co                       Q       CL
                                               iZ_                         c
                                                                                    iV                                +Yi                1
                                                                                                                                             OL
           ?_1C7t                                             \p’Y                                                                 S’1
                                   bWo           vi                            cwi                 Ao            A\A                             61

                              it                                                                                                                 81
4                            N

       9ic5               W                                                                                                                      L
,-



      %1A
                                                               IJP)
                                                                               )2
                                                                       1A1t1
 Lj                                                                                                                                              91
                                                                                                            /1
                                                                                                                  tAjO                           ci

                                                                                    S
                                                                                                       n Iw S..            SV                    1- 1
                                                               /-U
                                                                                    ’,*L7Lz 4:1c,, c ’w

                                                 cz            lf1I1QD

                                                                                                                                                     II


           ’r        \
                                                                                    7OC                     s z’i                    w           01

                                                                                                                                                      6
                         1110014           - S’1                                                           11 WA           A       4 0
                                                                                                                                                      8

                                 AM       \1r+                                                                                                          L
                                                                                                             1A1
       d                 . 1441+ -                           1’\                                                                                        9
                a 71       ) ’4                     c                     ’’5                \7        w
                                                                                                                       1\5                                C
                                                                                             0\1
                                                                                                                       Ah1A         6
                                                                                                                                                          I-

                                                                                                                      Q1                O                 C
                                                        5)         8                                   Aw


                                                              rZ                        rJ
                                                         r-
      Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 21 of 34 Page ID #:79


                                                                        k
                                         c   _ccv\i          Z
                        5               pIvv
 4
                                                                                               rcck ,
 D                                                                              C/
 6                                                                                         o
                                       VVL
 7
                      y aQLO
 8
                                                 VVA
                                                                                     q4
 9                    )))        5                 oca
 10

 II

 12

 ’3       y \u                                 pce o             \Ls
 ’4

’5
           - - I 5
16      t\ +L                                     5              0                         V   a
                                                         ’           .4_I
                                                                             6o
’7
                                                                            C icl1             vtLJ
18

’9                                                                          4   v     ro
                                                   ’


20
                             C
2!               fr     (i       4o’                         Q
’1)



23

24

25

26

27

28
                  Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 22 of 34 Page ID #:80




                                                                 It                                    (



                                       ck F cosed
                                               0                                          v

3                                    44
                   Peek,        rt
4                                                          v
                                                    e     4L-o’                \,c&- 5

5

6                                                       H dL                                                v   ceU..                     &ct,ro
                                                                                                                                             ’vr
                        -
                              V\?o Aoe
                             ’y                                                                                 cU                   t
7                                    trey                 eL-

8

9

    l0

    I

    12
                                                                                                                                    C -
                   1    -e                          ec\      S                 orve2. -’                                                 LJcQd
    I-;            \ay               cS.1                 4t\&v(
                                                                                                                            S            -



      -
    14                   ev-v                                                  -
        5                             t   ck 4 c)                                  C- 11-C 4,-   4                                   -       (




    16
                                                                                                                        SLV(
        17
                                            (O’ VcIr                         A-0
                                 O)
                                                                                                                                    vezL
        19                                                                                                      Sc
                                                ki4
        20

        21
                             cj                      V–               vt4l                k
                       -cr           .sc’ -4e                                              peQ
        22                                  S>            \- T..C,
        2
             5,
                                                                                          /.s_         i.               p
                                                                               LL                 c
        24

         25                                                                               Cv
           -             "V’t                       yv Y’\OcL)L                            C
                                                                                                      _1
                                                                                                  ---------



                                                                                                                                C
                                                    alo )
         27

            28                                      U CL 5                                    0
              Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 23 of 34 Page ID #:81




                                                                       ccV
3
                                                                                                             -L L
4              -b
                                          c               4-i…
                                                               c           c,                                   *ecQ    wt -
                                                  k-c                  +              Lt1j                          ’4ltE C’\
6                                   CLCE                                                                        -ti-4 -O
                                                                                )c)4                     Q+
7                          +0       L1*                        4       .          (                L
                          ti              k                                                     aCe frVty                --{-       u    #
8                         -k-ke                                                                 cpL
9                           ,                     c                -       epco        4-
                                                          k*   ui                          v-o 4L                   c -f4
10
                                              V- 4C&
    It               cJ
                                                                                  fw
    12

    13

    14
                Lo
    15
                      L:i :-                                                                                             ,
    16                k     t’4\A                                                      t                 OOpY*k/)
                Lt                  -1A
    ’7                              &4JA.
    18
                                                                       C\v\ O
     19
                                                           .   . 4YTtt                                   e
    20
                                                                                                    Vt                          y
                 64
    21                                                                                          kV Q     0 CL
                                                                                                                4                   c cU -
     1)              t:                                   w                           04 *-
                                                                                                                 J       L;     4-- *4’i
     23                                    \d         4                                     cLtQS               i’
     24
                                          L .o                 4
     -   ’S                                   \                                                                      .                       (




     26
                                                          L                                 .
     27
                                  elf     cp                   dL
         28
                                                                                                   t .
                -ce)
          Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 24 of 34 Page ID #:82



                                                                    c\t                              1
                                      c
3                             s\Le c. A-
                                      p
                                                         Ci

                                                                                   V           w                                                 o u &–-.
4          L- tCt      IS             l   4y         ro4                                           odJ              LJS.                      L3-’         VcLo-            U
           CQ4                                                                                                            e13                u19 p4
)                                                                                                                                                          -U        7 Louiev’
           4-_ cdL                        ca-,                                                            Q’JJ1                --/
6                                                                             e.       \ -rL V, o          i        o   v%\                                 S          uS
           O.                                  -rO                        4-t-t.e
7               L4           --e, –\-                                 p                    4-c      p uc                 4-0         crr              1c-        L

                                                                          c
8
                -(5S
9
                              eck          O ’J                                        r
           --’-’ Qctte5L1                                                                  t   k+              4-’o’-4 o - k                                    "J"tLe
10
            y                                                  C&                                                    You tc\                                         4rvi’
11          L/10         IS                     4fr1
                                                                                                                        oc1c                                VtV
            I                                            LC-ed       4-6
    12                                                                                                                                                     Gc&
                                               u
                                                                                    -4c            rcjt-t&                     1aQ           b        vck\
    13                                                                         L           Oc - o- c4                          otc

    14                                                                        Cc
                                                     -                                                                          \        e                               \7 e
                L1-          1S
                             1            I ’.VJO5                  V c                                                     +c  ,1O&U\
                                                                                                                                     L                                     C
    15
                                            e>i - cQ                vo-            C&/V9OW\               cXC           cppvo’oL tLtQ
    16
                                                                                                   pc                                        Lvo& LQ
    17
                 ct cLx’-’k cvc c i       o                                                                     y              4-v                    Ct ) J Cc
    I8
                         OVWa v$ Ktty cetl
    19      C2PL( J-a \        C &5L5 4)/                                                                  WOCk evc
                                                                                   3O’                    LctS c-I 4 &QzeG.
    20            V      L                                         C) >
                     i-k \ C4j (                                                                    S CQI
    21          j#kou4 SV-ES                                          a’ttLe                                   cQ         s.                     v’    .o L c, ct e ccl

    1?                                                        I,                                                                    ’y           io             C C)      L
                                                                                                         ’(.’\.                                       -*t            cc*’ vy
    23                                                                                                                                                                      Ceti
                                                   ro t)            C v+O 1                                                          t                k                       c
    24                                                Ctc       k    vy ce1                                                                  o        tL        c4
                      p4-’,
                                                    you c,-L V.tttt OJ
    25
                                                                           yCc+ \                                       e-ccIS v4 Q7 o’
     26               CLfri                                               4LLC&
                       e4                  ’       .vvc’
     27                                                        e-t
     28
              Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 25 of 34 Page ID #:83




1
                                                                                 Q.                 t’1
                      r 4          - B-L5      ’J’
                                                               cyu                              krcs
                                                                    a/                              A)ttt
                  L
                                                             --’                      ,         "                        c4A            ct3
                                           -5 ’ ’- Q

5
                                              c.             you    A- 60        ) ’-                                                c
                  Gvex                              c-r \-c                                                                c 0,       c4 #c\e_
6                                                            y-c&        k

                                                                             S                            4L   tL                 LGL         oK
    8             ---              c-s
                                                        4-L
                      A4                                Pc-

    10

    H
                          k1                       0’kOfri
                                                                   4 c u4                                           e.         4-.
        12            Y                o
                                                                    j 4-Le                     i4
        13

        14                 o       .                           C
                               N                         A
                                                         r
                                                                                           -
                                                                                          ł V                   J              VQ                  0
         -

        ID

        16

         17

         18

         19

         20

         21

         11


             23

             24

             25

             26

              27

              28
             Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 26 of 34 Page ID #:84


                                                                                     ’

                                                              CCLLv*                                  q
                                              c                                                                           L cL
4             vv,   CL-,                           L v’       4-    j-                       t.                  L


5                                          -Soo                                                   -



                                                          CQ                                 Ct
6                                         fJ-/                                               v                                   dtpLi-y
                                o        t4
7                                       A00               WJ


8              ev-                       C’Li1CI.

              V\ Li v 5                                                          0                                   L     c. o I               .
                                                                                                                                                    11, ~IQAA


              L-LCV’
LU
                                                                             \
Ii

12
                            joke-                 COV2             \)ck                  o            wiy                 oc.Q                      p5
13

    14                          c                                                                                    -’
                                                                                     t
    IS                                                                   y                   Lt
                                                                                                                          14 o
    16
                                    O’4C
    17                              4

    18          o                   vc                              4v
                                                                         c
    19                                                    I
                                                                                                      Lo   ’-’



    20
                                                                                                                                                      -
    21              a   y   4                                                Co      fL               Lc
    22                                                    A                                                                                           ct
                                                     ()
    2i                                                                                                           t
                                                                             v’              vQ            0               I’    vky       kJ
    24                                                                                                                            c
         -
                                                                                 4L                                               c
    2                                                                                                                                 /

    26

    27

     28
              Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 27 of 34 Page ID #:85


                                                                       uPo
                                                                        cL wv3


               -4’                CV1            ck’                                 jY                     t
4                                C+a-           vk                           (c
               u.p         A& c 4C                  CL        LT             kie    C-J               ON P- CAycL                         .4
)              kLe. wat O\Jd                                 C                            v                      ro
               C. uc-c&                                                                                                .


6                    *’\                            e                              rcu                           c          o ct
               corvYc                           k.te 4-’                                                    k1
7
                                                                                                                             *
8                                                                                                      a
                                                     ,                                                                 cU& yi                  1e?
9                                    kCd?       N) Et                                             (OV            s-4
                             ad           VtJ1v              cK             frvt      ctu                   Cur o)-
    10                                                                                                          eX4 v,t..cv4zQ4,
    11
                O                                                                                                      vrLJ,
    12                          ccv’       Se$                              a’a C9                    vc\e
               i     4z                      S                         cr                             pk y
    13                                                       CO                               I
    14                                              –nc                        p4             Wy

                                                                                                  y
    15

    16
                                                              p                                                            sac
     17              y ke                                                                                  t,e*                    -\-    vy       ("P- t
                4
     18                                             e L                       V 4 &
                                                      k1e-


     19                                                           my    vlb+c                 (S                           rvc4          dc&)

     20

     21                     7         t                      2vL–                  vp’o1          cc                             t2e.          c
                                                                          4        V IL P  A                                     OLJ V1

                                     4’e    rep-–                       -–-vc Q,CbS,’b,1 ci41
         23                                     .                  I
                                                                                      frW&Y
                            vfY5Q.i                           L0 v                                                         L’LA
         24                                 ~   roca e ecj 4-c
         25
                                                                                   Gv\                           v   c           p41 Le+’
                                pv&4-               pt*,                                          ?vc 4Q
         26            -
                                                                                                            I
                                                                                                           cl oy                  v L
                                                                                                                                   S -

                                            vv’
         27
                                CJ              0
                                                             (cske.                    vtty &ces. /                                                I4
         28                                                                                         41 VD
                     - -k                                    0P\        3-\3 doc4oi xx’ vye V
          Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 28 of 34 Page ID #:86




                 o        7-           ’
                                                                                         --i
                                                                                          S  s&a                    OQ       c\
     4       C\L kLQ                                                               (t
                                   CQ Lt
                                                                                                 0                                -
                                           CCW
     5                                           L                                                            Ou                  c
                                                                                         J%4             ceL                           v   y
     6
                                                                                   OCO
                                                                                                                                      i CLLT
                                                                                                         r
     8                                          c’\4         \’                    0    cc   uv’\v&
                                LtC                      v
 9                                                                                           I  +*
                                           4S..
     10



 12                                                    ---------- ..-’


                                           5                                                                                          +Q
 14
                                                 ’QV         a                 t   c.
                                   *’a.
 l                                                                                                           (1CO
                         ee                                                                                              &LCv

 16
               +u
                                                                                                                                                   CD
 17         4o ’t1
                                                                                                 e
18               V’ V                                                                        .
             L       c          cp             e. cQ 1 c-        ’. h .’l’t.                                             L    y vt’L
19                        tec                        ivL&                           -o               C                   ty           tvc.y rf
     o +L                                                                                                                               +
-          -cc c               tA) .
21
                                                                 Q
22          VV\/                       w -4L &                                                       o’ ZaQ ocxv
                              –L           kO&                                                   -()

                                                                                                                                               Q
24

25

26

27

28
     Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 29 of 34 Page ID #:87


                                                            uppt\l                                           ct


        On                -- 1B             a          L    Av1                       icc        cco         - -t           LI                             CLft2   S o
                  cLct,        wO.ecJ               Te’-.              w4es                          LPr.y                       cuc.             -4-L.            ck’
                                        c   P’\                                                                             cv
4      i-o                              L0     i4e                                                                  vO       6~ ock a r               t     t-’JAS

                                    kocY .4, t.4ocL                                          .



D      72- ks                      koL.J
                                    o4                                                                                                            £cv              Lour’
                             AJ%.$t1    ktcQ r-1-ck
6            S v1tvt-L1+--e5             ULLOU&                                                                                                                       vjtvVt

       4-c                    40 v4C&C4("
7
                                                                                            4.                                          )eL&                        \ 4&<
8                                                                                          £tJI
       0..       eite          --           Pv \)e1                                   +L                                                                            iS
9
                                                                                         tct.    1
                                                                                              \ oi
                                                                   your Ch                               QO1y                                      LQL i.to+

                                                                                                     V                      4L        t’.-J       k 4Lt
10
                          p                                 ....                                                                                               l.    Y
                                                                                                         C.O’y\(                                  \/j.)Q
I!

12                                                                         oi                                       ,       vv
       d4.pJ*y                Vtt                                                                                                      4oLp&
13
                 4A
14           0


       CA-                          Lt                                                                                                                                    C e
15

16     &pc14    SV\.LC                                   SCLd                         .          oi                     1         ’


        0 U  04 &                                                                                             L                  -\. 0        C                    .t+.
        1        4-           e.            -       th
17                                                                              ,-’


       ’V\(

18
                                                                                             :

’9

20     w.
                                    P                              *                                                                          /

21
                                                                                                                                 0
                                            -,
                                                                                                                                                      I        r1t
                                                I                      -

23

24                    0


25

26

27

28
      Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 30 of 34 Page ID #:88




 4
                                      VA                           o
        tV+         GSfrt         rv
 6
                        (2)                                                cli

                                                            Oi      y\e
             fry


                                                                          4.-a
 tO
        ()
         k.4


 3
                r’y
 4             GC      4-L           ocQL            4-     L
15                                   Ot             Oe,   ko4
 6                           -C

17                                        LL

18                                             lo
I)
       Gt                     V       1   M          rv4t
                   &ci        Co+o}
20

21



23

24

25

26

27

28
             Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 31 of 34 Page ID #:89
I



                                *do               0                               U – 0 0

                  c0

                                    pPy o*y j
    4
                               Lc                       cc)dy
    D


    6                           cv’ t-z   EL–QYV 4      -         c4M.       v+S

    7
                                                                                      e          vi

                                y*Qj               C                                                  J
    8                  e

    9                           frLcC         Jc                 NJ

    10

    II

        12                 ,        CJCci                                                       d4)
                                          C                  S                                  c– c*
        13
                                                             Y
         4
                                                                             4c
        ’5
                                              4op
         6
                           to, A/ti                                                       YNI

        17

        18                     L     \o
        ’9

        20                 (2             UC            V        U

        21
                                              I
                                                       poS               y        a         4
        I)


        23

         24

         25

         26

         27

         28
Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 32 of 34 Page ID #:90




                     PROOF OF SERVICE BY MAIL

                              Q.Civ.
                       (Cal. Cf  o Pro. §1013, FRCivP 5(b) (2) (C), FRAP 25(c) (1) (A))
          l
I,
       6 ik/ \c
           -                                      , declare that I placed a true and correct copy of the
following documents(s):




In a fully first-class postage paid envelope and addressed it to:




I further declare that I followed institutional procedures for the processing of outgoing legal mail and
turned the sealed envelope over to prison officials for mailing on the date below.

The foregoing is true and correct under
Executed by          Id L C)vo L a
               Print Inmate name and CDCR #

this                                             2 0t6at Wasco State Prison, Wasco, CA 93280

                 l      J



Inmate/Declarant signature



Proof of Service, Case No.:

(Attach to document)
Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 33 of 34 Page ID #:91


                Ni                                                                      I



                             L{Q)
                1
                       -




                                                                               REC
                                                                         CLERK U.S. DI ~
                                                                                       COURT


                                                                            JUN - 6 2016
                                                                     CENTRAL DISTRICT
                                                                     BY




                                                                                            ou
                                                                     0
                                                      NJ-     -S?-
Case 8:16-cv-00318-PLA Document 11 Filed 06/06/16 Page 34 of 34 Page ID #:92
